        Case 04-73051             Doc 6        Filed 06/14/04 Entered 06/17/04 01:09:53                            Desc Imaged
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FORM B9A (Chapter 7 Individual or Joint Debtor No Asset Case) (12/03)                                                 Case Number 04−73051
                                     UNITED STATES BANKRUPTCY COURT
                                            Northern District of Illinois
        Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
       A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on June 14, 2004.

 You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
 All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
 bankruptcy clerk's office cannot give legal advice.
                                    See Reverse Side For Important Explanations.
 Debtor(s) (name(s) used by the debtor(s) in the last 6 years, including married, maiden, trade, and address):
 Cathy R Flock
 aka Cathy R Slater
 1227 West 6th Street
 Sterling, IL 61081
 Case Number:                                                            Social Security/Taxpayer ID Nos.:
 04−73051                                                                xxx−xx−3966
 Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
 Marvin G Ripley                                                         Megan G Heeg
 302 First Ave Suite 307                                                 Ehrmann Gehlbach Badger & Lee
 Sterling, IL 61081                                                      Pob 447− 215 E First St, Ste 100
 Telephone number: 815−626−0200                                          Dixon, IL 61021
                                                                         Telephone number: 815−288−4949

                                                       Meeting of Creditors:
 Date: August 13, 2004                                                   Time: 12:30 PM
 Location: 212 3rd Avenue, Sterling, IL 61081

                                                                Deadlines:
                             Papers must be received by the bankruptcy clerk's office by the following deadlines:

 Deadline to File a Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain
                                           Debts: October 12, 2004

                                                  Deadline to Object to Exemptions:
                                        Thirty (30) days after the conclusion of the meeting of creditors.

                                        Creditors May Not Take Certain Actions:
 The filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the debtor's property.
 If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized.

              Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
 Address of the Bankruptcy Clerk's Office:                                                        For the Court:
 Western Division                                                        Clerk of the Bankruptcy Court:
 211 S. Court Street                                                     Kenneth S. Gardner
 Rockford, IL 61101
 Telephone number: 1−888−232−6814
 Hours Open: Monday − Friday 9:00 AM −4:30 PM                            Date: June 14, 2004
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                                                          EXPLANATIONS                                                          FORM B9A (9/97)

Filing of Chapter 7      A bankruptcy case under chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.


Creditors May Not        Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
Take Certain Actions     contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
                         obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                         and garnishing or deducting from the debtor's wages.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         without further notice.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4),
                         (6), or (15), you must start a lawsuit by filing a complaint in the bankruptcy clerk's office by the "Deadline to File a
                         Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain Debts" listed on the
                         front side. The bankruptcy clerk's office must receive the complaint and the required filing fee by that Deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objection by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.


Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. You may want to consult an attorney to protect
                         your rights.


                         −− Refer to Other Side for Important Deadlines and Notices −−
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 Enterprise Systems Incorporated
 11487 Sunset Hills Road
                                   CERTIFICATE OF SERVICE
 Reston, Virginia 20190-5234

 District/off: 0752-3                 User: jclarke                       Page 1 of 1                         Date Rcvd: Jun 14, 2004
 Case: 04-73051                       Form ID: b9a                        Total Served: 32

 The following entities were served by first class mail on Jun 16, 2004.
 db        +Cathy R Flock,    1227 West 6th Street,    Sterling, IL 61081-3127
 aty       +Marvin G Ripley,    302 First Ave Suite 307,    Sterling, IL 61081-3676
 tr        +Megan G Heeg,    Ehrmann Gehlbach Badger & Lee,     Pob 447- 215 E First St, Ste 100,
               Dixon, IL 61021-0447
 8173449   +Allied Interstate,    3111 S. Dixie Highway, Suite 101,     West Palm Beach, FL 33405-1570
 8173451   +Blatt, Hasenmiller, Leibsker & Moore LLC,     2 N. LaSalle Street, Suite 900,     Chicago, IL 60602-4039
 8173452   +Blatt, Hasenmiller, Leibsker & Moore LLC,     2 N La Salle St Ste 900,    Chicago, IL 60602-4039
 8173454   +CCE Network,    PO Box 24500,   Rochester, NY 14624-0500
 8173456   +CGH Medical Center,    100 East LeFevre Road,     Sterling, IL 61081-1279
 8173453    Capital One,    Capital One Services,    PO Box 85015,    Richmond, VA 23285-5015
 8173455   +Celletti, Ida Marie,    1211 Shore Acres Road,     Rock Falls, IL 61071-1447
 8173457   +City Of Rock Falls,    Utilities Office,    603 W. 10th Street,    Rock Falls, IL 61071-1576
 8173458    Cross Country Bank,    PO Box 310711,    Boca Raton, FL 33431-0711
 8173459   +Dairyland Insurance Company,    Sentry Family Of Insurance Companies,     PO Box 8034,
               Stevens Point, WI 54481-8034
 8173460   +Education Direct,    PO Box 24500,    Rochester, NY 14624-0500
 8173461   +FedChex Recovery,    PO Box 18978,    Irvine, CA 92623-8978
 8173447   +Flock Cathy R,    1227 West 6th Street,    Sterling, IL 61081-3127
 8173462   +Home Interiors & Gifts,    2629 Dickerson Parkway,     Carrolton, TX 75007-4408
 8173463    Household Bank,    Household Credit Services,     PO Box 80460,   Portland, OR 97280-1460
 8173464   +Household Tax Masters Inc.,    Churchmans’s Corporate Center,     90 Christiana Road,
               New Castle, DE 19720-3118
 8173465   +Illinois Student Assistance Commission,     1755 Lake Cook Road,    Deerfield, IL 60015-5209
 8173466   +Iowa Steak Company,    2150 Delavan Ste 1,     West Des Moines, IA 50265-5537
 8173448   +Marvin G Ripley,    Attorney At Law,    302 First Avenue Suite 307,    Sterling, IL 61081-3676
 8173467    Midland Credit Management, Inc.,     PO Box 939019,    San Diego, CA 92193-9019
 8173468   +NCO Portfolio Management, Inc.,     1804 Washington Blvd,    Baltimore, MD 21230-1700
 8173469   +Nicor,   Attention: Bankruptcy & Collections,       PO Box 549,   Aurora, IL 60507-0549
 8173470   +Northland Group Inc.,    PO Box 390846,    Edina, MN 55439-0846
 8173471   +Professional Career Development Institut,     6065 Roswell Road    Suite 3118,    Atlanta, GA 30328-4011
 8173472    RRCA Accounts Management Inc.,     312 Locust St,    Sterling, IL 61081-3539
 8173473   +Southwest Credit Systems, Inc.,     PO Box 115151,    2629 Dickerson Parkway,
               Carrollton, TX 75007-4490
 8173475    U.S. Department Of Education,    Direct Loan Servicing Center,     POB 4609,    Utica, NY 13504-4609
 8173474    U.S. Department Of Education,    Direct Loan Servicing Center,     POB 530260,
               Atlantic, GA 30353-0260
 The following entities were served by electronic transmission on Jun 15, 2004 and receipt of the transmission
 was confirmed on:
 8173450   +EDI: ARROW.COM Jun 15 2004 06:32:00     Arrow Financial Services,   5996 W. Touhy Avenue,
               Niles, IL 60714-4610
 8173464   +EDI: HFC.COM Jun 15 2004 06:32:00     Household Tax Masters Inc.,   Churchmans’s Corporate Center,
               90 Christiana Road,   New Castle, DE 19720-3118
                                                                                             TOTAL: 2
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Jun 16, 2004                                      Signature:
